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                       EXHIBIT A
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    "EXHIBIT B" - 1


   Subject: Re: Theft of Cryptocurrency investigation 13190119789
   [OFFICIAL]
   From: Andrew Schober
   Date: 10/24/20, 2:14 PM
   To: "Clayton, Joel" <joel.clayton@westyorkshire.pnn.police.uk>

  DC Clayton,

  It does make sense, thank you.


    Having had a brief read of the contents, can I confirm whether you have had any update or
    confirmation that the FBI have made the request to shapeshift and whether they provided the details
    requested.

    I note from some of the emails that there appears to be a confirmation that the FBI have submitted a
    formal request for the information and that this was done some many months ago?


  The FBI did not follow through with the requests to ShapeShift and Bitfinex. I have attached emails
  from Agent Hitchcock to confirm this (the PDF pages now read in chronological order). Again I
  apologize for not providing these documents earlier, I was under the impression that the FBI shared
  this information.

    Can I confirm that you have provided this with consent and believe to be relevant to the investigation?

  Yes, confirmed.


    In relation to any proposed or further contact with any suspects or their families, can I please ask that
    this is not done whilst ever West Yorkshire Police have an active investigation.


  Understood, I will not contact the suspects again.

    I totally appreciate how frustrating this must be for you and I want to ensure you that we are
    undertaking all of the enquiries needed and those you would expect.

  Thank you, I appreciate that. I was frustrated that the FBI did not reach out to the exchanges where
  the thief made deposits, as I strongly believe this will corroborate and confirm what myself and Mr.
  Bax were able to find.

  As noted in my OSR package both ShapeShift and Bitfinex have exchanged emails with my
  attorney Ethan Mora and have agreed to release information to law enforcement with a formal
  request. Their contact information:


       • ShapeShift
             ◦ Megan Longo -- contact email: megan@shapeshift.io
             ◦ information:
                    ▪ all internal information regarding deposit addresses
                      3HbANjJRUw8GdK16Xk572qKDarAV4Hy17H and
                      d75bc06e69fd942085d4742bf8be87d036018eb2062188dbcc989de381de8e7c
                    ▪ confirmation that Monero output 4258215 was a change output that ShapeShift
                      sent to itself (thus, the other output necessarily belonged to Mr. Thompson)
                    ▪ information regarding any other ShapeShift transactions made to the thief's
                      known Monero withdraw address
                      46uKqypoMZFFURWJd1H8z5fFwrUHES2PgHUUQ7b4mSQW2LBCg67S3fqdZ4asfaRcHj1



                                                                                                 SCHOBER_001848
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    "EXHIBIT B" - 2

              ◦ goal: proving that these transactions were sent from the malware to Benedict
                Thompson's bitcoin address
       • Bitfinex
              ◦ Sarah Compani -- contact email: sarah@bitfinex.com OR siteviolations@bitfinex.com;
                inforequests@bitfinex.com; support@bitfinex.com
              ◦ information:
                     ▪ requests contained in my attorney's letter to Bitfinex
              ◦ goal: determine what happened after the stolen funds were deposited at Bitfinex, and
                see if there are connections to Mr. Thompson and/or Mr. Read

  I know this is redundant, thank you for bearing with me.

  Yours truly,

  Andrew S

  On Fri, Oct 23, 2020 at 2:33 AM Clayton, Joel
  <joel.clayton@westyorkshire.pnn.police.uk> wrote:

    Classification: OFFICIAL


    Dear Mr Schober,



    Thank you for the below email and attached information.



    Having had a brief read of the contents, can I confirm whether you have had any update or
    confirmation that the FBI have made the request to shapeshift and whether they provided the details
    requested.



    I note from some of the emails that there appears to be a confirmation that the FBI have submitted a
    formal request for the information and that this was done some many months ago?



    I also wanted to point out that you have shared some correspondence between you and your legal
    representative. This may well be referred to as legal privilege in the UK however it is also relevant to
    the investigation. Can I confirm that you have provided this with consent and believe to be relevant to
    the investigation?



    In relation to any proposed or further contact with any suspects or their families, can I please ask that
    this is not done whilst ever West Yorkshire Police have an active investigation.



    As I have explained previously, we are actively developing this case and I will update you with any
    developments. That said, I totally appreciate how frustrating this must be for you and I want to ensure
    you that we are undertaking all of the enquiries needed and those you would expect.



                                                                                                SCHOBER_001849
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                                      4
    "EXHIBIT B" - 3



    I hope this all makes sense.



    Yours faithfully



    Joel



    Joel CLAYTON

    Detective Constable 1849

    West Yorkshire Police

    Cyber-Crime Team




    * Email: joel.clayton@westyorkshire.pnn.police.uk

    ( Internal: 25758 External: 01924 821358

    + Address: West Yorkshire Police, PO Box 9, Wakefield.

    8 Website: www.westyorkshire.police.uk




    From: Andrew Schober <                        >
    Sent: 23 October 2020 02:19
    To: Clayton, Joel <joel.clayton@westyorkshire.pnn.police.uk>
    Subject: Re: Theft of Cryptocurrency investigation 13190119789 [OFFICIAL]



    Hello DC Clayton,



    Regarding something you said in our last exchange




                                                                                SCHOBER_001850
